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   1   Ashley M. McDow (245114)
       John A. Simon (admitted Pro Hac Vice)
   2   Shane J. Moses (250533)
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   4   Telephone: 213.972.4500
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              smoses@foley.com
   6

   7   Attorneys for Debtors and Debtors in
       Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
   8   INC., and SCOOBUR, LLC
   9
                                 UNITED STATES BANKRUPTCY COURT
  10
                     CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
  11

  12    In re:                                             Case No. 2:19-bk-14989-WB
                                                           Jointly Administered:
  13    SCOOBEEZ, et al.1                                  2:19-bk-14991-WB; 2:19-bk-14997-WB
  14             Debtors and Debtors in Possession.       Chapter 11
  15                                                       NOTICE OF HEARING ON DEBTORS’
                                                           APPLICATION TO EMPLOY HILCO
  16                                                       REAL ESTATE, LLC
  17    Affects:                                           Hearing:
        ■ All Debtors                                      Date: February 6, 2020
  18    □ Scoobeez, ONLY                                   Time: 10:00 a.m.
        □ Scoobeez Global, Inc., ONLY                      Place: Courtroom 1375
  19    □ Scoobur LLC, ONLY                                       U.S. Bankruptcy Court
                                                                  255 E. Temple Street
  20                                                              Los Angeles, CA 90012
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                The Debtors and the last four digits of their respective federal taxpayer identification
  28   numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
       (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.

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   1   TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE,
   2   THE OFFICE OF THE UNITED STATES TRUSTEE, INTERESTED PARTIES
   3   AND/OR THEIR COUNSEL OF RECORD:
   4           On or about December 18, 2019, Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC
   5   (the “Debtors”), the debtors and debtors-in-possession in the above-captioned bankruptcy case,
   6   filed the Application to Employ Hilco Real Estate, LLC (the “Application”) [Docket Entry 504].
   7   On the same date, the Debtors served notice of the Application pursuant to Local Bankruptcy
   8   Rule 9013-1(o). On or about January 3, 2020, Aroussiak and Garo Dekirmendjian as Trustees of
   9   the 2/22/02 Derkirmendjian Family Trust filed an Objection to the Application [Docket Entry
  10   530].
  11           PLEASE TAKE NOTICE that on February 6, 2020 at 10:00 a.m., or as soon
  12   thereafter as the matter may be heard, the Application will come on for hearing before the
  13   Honorable Julia W. Brand in Courtroom 1375 of the United States Bankruptcy Court located at
  14   255 East Temple Street, Los Angeles, California 90012.
  15

  16
       Date: January 13, 2020                              Foley & Lardner LLP
  17

  18
                                                           By:   /s/Ashley M. McDow
  19                                                             ASHLEY M. MCDOW
                                                           Attorneys for Debtors and Debtors in
  20                                                       Possession, SCOOBEEZ, SCOOBEEZ
                                                           GLOBAL, INC., and SCOOBUR, LLC
  21

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                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON DEBTORS’
APPLICATION TO EMPLOY HILCO REAL ESTATE, LLC will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
1/13/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 1/13/2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.
Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012



                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   1/13/2020                Sonia Gaeta                                        /s/ Sonia Gaeta
   Date                     Printed Name                                       Signature




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  1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
          Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
          Eric D Winston ericwinston@quinnemanuel.com
          Eric K Yaeckel yaeckel@sullivanlawgroupapc.com

  2. SERVED BY UNITED STATES MAIL:

Accurate Background                     ADT Security Services                   AE Works Enterprises, Inc.
7515 Irvine Center Drive                PO Box 371878                           PO Box 4016
Irvine, CA 92618                        Pittsburgh, PA 15250-7878               Chatsworth, CA 91313



Alissa Guler                            Amazon                                  Amazon Logistics, Inc.
c/o Albert G. Stoll, Jr.                1516 Second Avenue                      Attn: General Counsel
55 Francisco Street                     Seattle, WA 98101                       410 Terry Avenue North
Suite 403                                                                       Seattle, WA 98109-5210
San Francisco, CA 94133

Amazon Web Services Inc.                App Group International, LLC            Arturo Vega and Unta Key
440 Terry Ave N                         85 Broad Street, 17th Floor             c/o Eric K. Yaeckel
Seattle, WA 98109                       New York, NY 10004                      Sullivan Law Group, APC
                                                                                2330 Third Avenue
                                                                                San Diego, CA 92101




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Asana                               AT&T Corp.                           Athens Services
1550 Bryant Street, Suite 800       c/o CT Corporation                   14048 E. Valley Blvd.
San Francisco, CA 94103             818 Seventh Street, Suite 930        La Puente, CA 91746
                                    Los Angeles, CA 90017


Avitus, Inc.                        Azad Baban                           Bentley Financial Services
c/o David M. Wagner, Esq.           c/o Justin Silverman, Esq.           Customer Service
Crowley Fleck, PLLP                 Reisner & King LLP                   One Porsche Drive
P.O. Box 10969                      14724 Ventura Blvd., Suite 1210      Atlanta, GA 30354
Bozeman, MT 59719                   Sherman Oaks, CA 91403

Bernardo Parra                      BMW Financial Services NA, LLC       B-One Construction
c/o Mancini Law Group, P.C.         Bankruptcy Servicer                  104 E. Propsect Avenue
7170 W. Grand Avenue                AIS Portfolio Servcies, LP           Burbank, CA 91502
Elmwood Park, IL 60707              4515 N. Santa Fe Ave., Dept. APS
                                    Oklahoma City, OK 73118

Booster Fuels                       California Franchise Tax Board       Calstar Motors, Inc.
11 N. Ellsworth Avenue              Franchise Tax Board Bankr. Section   700 S. Brand Blvd.
San Mateo, CA 94403                 PO Box 2952, MS:A-340                Glendale, CA 91204
                                    Sacramento, CA 95812-2952


Citation Department                 City of Chicago                      City of Glendale Water & Power
Attn: Leslie Yang                   Department of Finance                141 North Glendale Ave., Level 2
14002 East 21st St, #1500           PO Box 88292                         Glendale, CA 91206
Tulsa, OK 74134                     Chicago, IL 60680


City of Los Angeles                 Crescenta Valley Water District      CT Corporation System
Parking Violations Bureau           2700 Foothill Blvd.                  as Representative
PO Box 30420                        La Crescenta, CA 91214               Attn: SPRS
Los Angeles, CA 90030                                                    330 N. Brand Blvd., Suite 700
                                                                         Glendale, CA 91203

Damage Recovery (EAN)               Deputy General Counsel               De'Von Walker
PO Box 843369                       The Hertz Corporation                c/o David Yeremian & Associates, In
Kansas City, MO 64184               8501 Williams Rd., 2DO40             535 N. Brand Blvd., Suite 705
                                    Estero, FL 33928                     Glendale, CA 91203


DMV                                 DSP Online Order                     Earl Jones
PO Box 825339                       5825 Southwest Arctic Drive          7441 Candleridge Circle
Sacramento, CA 94232                Beaverton, OR 97005                  Fort Worth, TX 76133



Edvin Amzayan, c/o State of CA      Edvin Yegiyan, c/o State of CA       Emil Davtyan
Dept. of Industrial Relations       Dept. of Industrial Relations        Davtyan Professional Law Corp.
Labor Commission Office             Labor Commission Office              21900 Burbank Blvd., Suite 300
455 Golden Gate Ave., 10th Floor    455 Golden Gate Ave., 10th Floor     Woodland Hills, CA 91367
San Francisco, CA 94102             San Francisco, CA 94102




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Enterprise Holdings, Inc.           ExtraSpaceStorage                    Fed Ex
600 Corporate Park Drive            2244 S. Western Avenue               942 South Shady Grove Road
Saint Louis, MO 63105               Chicago, IL 60608                    Memphis, TN 38120



First Advantage                     First Insurance Funding              Fleetwash Inc.
1 Concourse Parkway NE              450 Skokie Blvd., Ste. 1000          26 Law Drive
Suite 200                           Northbrook, IL 60062-7917            Fairfield, NJ 7004
Atlanta, GA 30328


Gallik, Bremer & Molloy, PC         Garo and Aroussiak Dekirmendjian     Gemini Duplication, Inc.
PO Box 70                           c/o Bulldog Commercial Real Estate   6020 W. Oaks Blvd., Ste. 301
Bozeman, MT 59771                   Attn: John Raudsep, President        Lincoln, CA 95648
                                    3634 Woodcliff
                                    Sherman Oaks, CA 91403

Global Results Communications       Google/G Suite Software              Graham S.P. Hollis
201 East Sandpointe Avenue          1600 Amphitheatre Parkway            Graham Hollis APC
Suite 650                           Mountain View, CA 94043              3555 Fifth Avenue, Suite 200
Santa Ana, CA 92707                                                      San Diego, CA 92103


Grigori Sedrakyan                   GTR Source LLC                       Halo Branded Solutions
1127 Sonora Ave.                    1006 Monmouth Ave                    1500 Halo Way
Glendale, CA 91201                  Lakewood, NJ 8701                    Sterling, IL 61081



Hertz Corporation                   Hillair Capital Management LLC       HOAG Memorial Hospital Presbyterian
14501 Quail Springs Parkway         330 Primrose Road                    1 Hoag Drive
Oklahoma City, OK 73134             Suite 660                            Newport Beach, CA 92663
                                    Burlingame, CA 94010


Hop Capital                         Imran Firoz                          Indeed, Inc.
323 Sunny Isles Blvd., Suite 501    c/o Brent Finch                      6433 Champion Grandview Way
Sunny Isles Beach, FL 33160         Brent Finch Law                      Building 1
                                    27200 Agoura Rd., Ste. 102           Austin, TX 78750
                                    Agoura Hills, CA 91301

Influx Capital LLC                  Internal Revenue Service             Jacob Lee DeGough
1049 Helen Avenue                   Centalized Insolvency Operation      c/o Glenn Law Firm
Santa Clara, CA 95051               PO Box 7346                          1017 William D. Tate Ave., Suite 100
                                    Philadelphia, PA 19101-7346          Grapevine, TX 76051


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209 W. Central Ave., Apt. D         c/o Law Office of Arash Alizadeh     c/o Law Offices of Daniel A. Kaplan
Monrovia, CA 91016                  7545 Irvine Center Drive             555 W. Beech St., Suite 230
                                    Suite 200                            San Diego, CA 92101
                                    Irvine, CA 92618




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Law Office of Todd M. Friedman, PC    Liquid Web Inc.                  LiveAgent
333 Skokie Blvd., #103                2703 Ena Drive                   c/o Quality Unit, LLC
Northbrook, IL 60062                  Lansing, MI 48917                616 Corporate Way, Suite 2-3278
                                                                       Valley Cottage, NY 10989


Lockton Companies, LLC                Lois Craig                       Mail Chimp
Attn: Nate Mundy, COO                 1708 S. Alma St.                 c/o The Rocket Science Group, LLC
Lockton Insurance Brokres, LLC        San Pedro, CA 90731              675 Ponce de Leon Ave. NE,
725 S. Figueroa, 35th Floor                                            Suite 5000
Los Angeles, CA 90017                                                  Atlanta, GA 30308

Maria Salgado                         Marwan Griffin                   Massinissa Bechout, c/o State of CA
c/o Nicholas J. Tsakas, Esq.          c/o Aegis Law Firm, PC           Dept. of Industrial Relations
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Marina Del Rey, CA 90292              Irvine, CA 92618                 San Francisco, CA 94102

Minas Sarafian                        Mostafa Joharifard               Motorcars West/The Auto Gallery
c/o Simonian & Simonian, PLC          1651 E. Edinger Ave.             21301 Ventura Blvd.
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Glendale, CA 91206                    Santa Ana, CA 92705


Nazareth Ohanessian                   Newport Urgent Care              NexGen Capital, LLC
1328 Doverwood Drive                  1000 Bristol St. North           c/o David Neale
Glendale, CA 91207                    Suite 1B                         Levene Neale Bender
                                      Newport Beach, CA 92660          10250 Constellation Blvd., #1700
                                                                       Los Angeles, CA 90067

Office of the Director                OrthoKinetix                     Parkway Commercial Realty
Department of Motor Vehicles          1835 Chicago Avenue              Attn: Laurence & Patricia Cesander
2415 1st Avenue, MS: F101             Suite A                          2485 E. Southlake Blvd.
Sacramento, CA 95818-2606             Riverside, CA 92507              Southlake, TX 76092


Peter Rosenthal Irrevocable Trust     Pex Cards                        Premier Business Bank
dated 10/31/2012                      462 7th Avenue                   700 S. Flower Street, #2000
3450 N. Verdugo Rd.                   21st Floor                       Los Angeles, CA 90017
Glendale, CA 91208                    New York, NY 10018


Prince Uko, c/o State of CA           Queen Funding LLC                Quickbooks
Dept. of Industrial Relations         2221 NE 164 ST                   c/o Intuit Inc.
Labor Commission Office               North Miami Beach, FL 33160      2700 Coast Avenue
455 Golden Gate Ave., 10th Floor                                       Mountain View, CA 94043
San Francisco, CA 94102

Raef Lawson                           Rafael Nendel - Flores           Ready Refresh
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Los Angeles, CA 90045                 Suite 350
                                      Los Angeles, CA 90017




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Ring Central                          Roy Castelanos                        Salvador Rivas
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                                      Suite 800                             San Diego, CA 92101
                                      Los Angeles, CA 90017

Scoobeez                              Scoobeez LV, LLC                      Scoobeez SD, LLC
3463 Foothill Blvd.                                                         c/o Law Offices of Daniel A. Kaplan
Glendale, CA 91214                                                          555 W. Beech St., Suite 230
                                                                            San Diego, CA 92101


Scoobeez SF, LLC                      Sean McNair                           Shane R. Heskin
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Las Vegas, NV 89102                   9454 Wilshire Blvd., 6th Floor        1650 Market Street
                                      Beverly Hills, CA 90212               One Liberty Place, Suite 1800
                                                                            Philadelphia, PA 19103-7395

Shoushana (Suzy) Ohanessian           Southern California Gas Company       Spectrum (San Antonio)
1328 Doverwood Drive                  PO Box 1626                           Time Warner Cable
Glendale, CA 91207                    Monterey Park, CA 91754-8626          PO Box 60074
                                                                            City of Industry, CA 91716


Spectrum Business                     Steve & Millessa Oberhauser           Steven M. Spector
c/o Charter Communications            c/o Sanders Bajwa LLP                 BUCHALTER, A Professional Corporati
PO Box 790261                         919 Congress Ave., Suite 750          1000 Wilshire Blvd., Suite 1500
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SuperVision                           Swizznet                              Texas Department of Insurance
PO Box 21636                          6075 California Avenue SW             Dividion of Workers' Compensation
Saint Paul, MN 55121                  Seattle, WA 98136                     7551 Metro Center Drive, Suite 100
                                                                            Austin, TX 78744


The Hertz Corporation                 Three Two Seven Family Mmgt LLC       T-Mobile/T-Mobile USA Inc.
Attn: Casey Rodriguez, Division VP    PO Box 120040                         by American InfoSource as agent
2 Schoephoester Road                  San Antonio, TX 78212                 PO Box 248848
Windsor Locks, CT 6096                                                      Oklahoma City, OK 73124


Trust 5025983 LLC                     UPS                                   US Securities and Exchange Commissi
Series 1400 N. Cicero                 55 Glenlake Parkway NE                Attn: Bankruptcy Counsel
c/o Nelson Hill - Emily Rasan         Atlanta, GA 30328                     444 S. Flower St., Suite 900
1111 S. Western Avenue                                                      Los Angeles, CA 90071-9591
Chicago, IL 60612

USPS                                  Verizon                               WG Fund LLC
475 Lenfant Plaza SW                  PO Box 489                            1734 8th Avenue
Washington, DC 20260                  Newark, NJ 07101-0489                 Suite PH
                                                                            Brooklyn, NY 11215




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Internal Revenue Service          U.S. Securities and Exchange
P.O. Box 7346                     Commission
Philadelphia, PA 19101-7346       Attn: Bankruptcy Counsel
                                  444 South Flower Street, Suite 900
                                  Los Angeles, CA 90071-9591




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